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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

TANIA KANGA THARALINGAM
      Plaintiff
                                                                    CAUSE NO. 4:23-CV-00722

         v.

NATIONSTAR MORTGAGE LLC
      Defendant

______________________________________________________________________________

                        STIPULATION OF DISMISSAL
______________________________________________________________________________

         COMES NOW Tania Kanga Tharalingam (“Plaintiff”) and Nationstar

Mortgage LLC d/b/a Mr. Cooper (“Defendant”) (together, the “Parties”), and they

hereby file this Stipulation of Dismissal, showing as follows:

         Pursuant to F.R.C.P. 41, the Parties stipulate to dismissal of this case

without prejudice, and the Parties request that an order of dismissal be entered

consistent with the stated stipulation.

Dated: April 21, 2023                                           Respectfully submitted,


                                                                        /s/ Erick DeLaRue
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                                                                ATTORNEY FOR PLAINTIFF

                                                                -and-


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                                                                     /s/ Matthew D. Durham
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                                                                ATTORNEY FOR DEFENDANT




                                      CERTIFICATE OF SERVICE

       I hereby certify that on April 21, 2023, a true and correct copy of the
foregoing was electronically filed. Notice of this filing will be sent either
electronically using the CM/ECF System for filing and transmittal of a Notice of
Electronic Filing to all CM/ECF registrants in this suit, or via certified mail to all
parties of record.

                                                                     /s/ Matthew D. Durham
                                                                Matthew D. Durham




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